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12 Counsel for Plaintiff Katie Ogdon and the Proposed Class
13                           IN THE UNITED STATES DISTRICT COURT
                                     DISTRICT OF ARIZONA
14
   Katie Ogdon, on behalf of herself and all others
15 similarly situated,
                                                    No. 2:22-cv-00477-DLR
16                 Plaintiff,
17          vs.
                                                              PLAINTIFF’S NOTICE OF SERVICE OF
18 Grand Canyon University, Inc., et al.,                     INITIAL DISCLOSURES
19                  Defendants.
20
21
            Pursuant to LRCiv 5.2 of the Local Rules of the United States District Court for the District
22
     of Arizona and FED R. CIV. P. 5(d)(1)(A), Plaintiff Katie Ogdon, by and through the undersigned
23
     counsel, hereby gives notice of serving their Initial Disclosures to Defendants Grand Canyon
24
     University, Grand Canyon Education Incorporated, Brian Mueller, Dan Bachus, and Stan Meyer on
25
     May 26, 2022
26
         Case 2:22-cv-00477-DLR Document 59 Filed 05/26/22 Page 2 of 3




1 Dated: May 26, 2022                       Respectfully Submitted,
2                                           TYCKO & ZAVAREEI, LLP
3                                           /s/Hassan A. Zavareei
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4                                           Kristen G. Simplicio (pro hac vice)
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                                            Counsel for Plaintiff Katie Ogdon
15                                          and the Proposed Class
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          Case 2:22-cv-00477-DLR Document 59 Filed 05/26/22 Page 3 of 3




1                                    CERTIFICATE OF SERVICE
2         I hereby certify that on this 26th day of May 2022, I electronically filed the foregoing
3 document using the CM/ECF system, which shall serve electronically the foregoing document on
4 all registered case participants as identified on the Notice of Electronic Filing.
5                                                             /s/ Hassan A. Zavareei
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